EXHIBIT 31
DEF 3399
DEF 3783
                   POLICE STUDENT'S GUIDE
                         Policing the Emotionally Disturbed


In this chapter you will learn some basic information about mental illnesses, how to
recognize people who are in emotional distress, and tactical patrol guides that will guide
you to interact with such individuals in a safe and effective manner.

As you read this chapter, keep in mind that these lessons will not only help you interact
with people with mental illnesses, but will guide you in every aspect of your Police work.
Given the prevalence of mental health issues in our society, these lessons may also
help you interact with friends, family and colleagues.

The Patrol Guide contains more extensive direction and procedures. The following
mandatory Patrol Guide readings must be read in conjunction with this Chapter.
Questions for the 2 nd Trimester Exam may come from these procedures.

                         MANDATORY PATROL GUIDE READING

        The following are Patrol Guide procedures that must be added to this chapter -
Policing the Emotionally Disturbed. These procedures must be read in conjunction
with this chapter. Questions for the 2nd Trimester Exam may come from these
procedures:

P.G. 208-06                Arrest-Security Measures

P.G. 210 - 04               Prisoners Requiring Medical/ Psychiatric Treatment

P.G. 216- 05                Mentally Ill or Emotionally Disturbed Persons

P.G. 216- 06                Mental Heath Removal Orders

P.G. 216- 07               Firearm Safety Stations at Psychiatric Wards and
                           Admitting Areas

P.G. 216-22                 Mobile Crisis Outreach teams and Assertive Community
                            Treatment Teams


                  WHY IS IT IMPORTANT FOR POLICE OFFICERS
              TO KNOW ABOUT EMOTIONALLY DISTURBED PERSONS?

       Encounters with "emotionally disturbed persons," otherwise known as "EDP's,"
are among the most frequent and sensitive of all police interactions. If handled
properly, they can be very rewarding. NYPD Officers who have learned how to properly
assess these situations and interact professionally with people with serious mental


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                                                                                         DEF 4056
DEF 4293
DEF 4528
DEF 4996
DEF 5234
DEF 5506
DEF 5782
DEF 6344
DEF 6912
DEF 8050
